                                                              United States Bankruptcy Court
                                                                Northern District of Ohio
In re:                                                                                                                 Case No. 23-60423-maw
Robert J. Schlabach                                                                                                    Chapter 7
Mary M. Schlabach
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0647-6                                                  User: admin                                                                Page 1 of 15
Date Rcvd: Apr 19, 2024                                               Form ID: 318                                                            Total Noticed: 660
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 21, 2024:
Recip ID                   Recipient Name and Address
db/db                      Robert J. Schlabach, Mary M. Schlabach, 5120 Leihley Hill Rd NW, Sugarcreek, OH 44681-7777
aty                    +   Michael J. Moran, Gibson and Moran Law Offices, 234 Portage Trail, PO Box 535, Cuyahoga Falls, OH 44222-0535
cr                     +   The Farmers National Bank of Canfield, c/o Jerry M. Bryan, Esq., 6 Federal Plaza Central, Suite 1300, Youngstown, OH 44503-1508
27487585                   3R Sales and Service, 27 4th St NW, Barberton, OH 44203-2503
27487622                   AR Trade Solutions LLC, 41014 Clay Gully Rd, Myakka City, FL 34251-8931
27487629                   ASSA ABLOY Global Solutions, 631 International Pkwy Ste 100, Richardson, TX 75081-6623
27487588                   Ace Sign Company, 11935 Interstate 30, Little Rock, AR 72209-7052
27487589                   Acuity Brands Lighting, 1170 Peachtree St NE Ste 1200, Atlanta, GA 30309-7673
27487590               +   Aden Kuhns, 7925 State Route 279, Oak Hill, OH 45656-7511
27487591               #   Adrian Electric & Generator Co., PO Box 400, Adrian, MI 49221-0400
27487592                   Adrian Tecumseh Fence Co., 5606 S Occidental Rd Ste C, Tecumseh, MI 49286-8901
27487593                   Advanced Auto Parts, 1438 S Washington St, Millersburg, OH 44654-9454
27487595                   Alamo Damage Recovery Unit, 600 Corporate Park Dr, Saint Louis, MO 63105-4204
27487596               #   Alarm Fire & Security, PO Box 7972, Hilton Head Island, SC 29938-7972
27487597                   Albright Welding Supply, PO Box 35, Wooster, OH 44691-0035
27487598                   Alexander Painting LLC, 12542 Evington Point Dr, Riverview, FL 33579-4048
27487599                   Alfonso Montes, 6691 Hall Rd, Galloway, OH 43119-9544
27487600                   All Ohio Painting, 4860 Township Road 367, Millersburg, OH 44654-8886
27487601                   All Seasons Building, 2260 Montcalm St, Indianapolis, IN 46208-5455
27529272                   All State Fire Protection, 900 Laver Rd, Mansfield, OH 44905-2343
27487602                   All State Fire Protection & Service, 900 Laver Rd, Mansfield, OH 44905-2343
27789172                   All State Fire Protection & Service LLC, c/o Weldon & Company Inc, Reg. Agent, 76 N Mulberry St, Mansfield, OH 44902-1241
27789173                   All State Fire Protection Inc., c/o Richard Zickefoose, Registered Agent, Po Box 27, Loudonville, OH 44842-0027
27529261                   Allstate Fire Suppression, 484 County Road 2575, Loudonville, OH 44842-9604
27789174                   Alpha Construction LLC, c/o Naomi R. Miller, Registered Agent, 2325 Us Route 62, Dundee, OH 44624-9232
27529257                   Alpine Heating & Cooling, 1567 US Route 62, Wilmot, OH 44689-9605
27487604                   Alpine Heating Ltd., PO Box 201, Wilmot, OH 44689-0201
27487605                   Alternative Roofing Solutions Inc., 326 Browns Cove Rd Ste E, Ridgeland, SC 29936-3119
27487610               +   American Leak Detection, 2515 International St, Columbus, OH 43228-4642
27487611                   American Producers Supply Co., PO Box 1050, Marietta, OH 45750-6050
27487614                   Anderson Pool Inc., 120 Meadow Dr, Bluffton, SC 29910-6631
27487615                   Andrew C. Harper, 7897 Newport Rd SE, Uhrichsville, OH 44683-6351
27487616                   Andrew E. Hershberger, 7087 Cutter Rd, Apple Creek, OH 44606-9077
27487617                   Angel Painting, 2961 Brantley Dr, Antioch, TN 37013-5204
27487618                   Anthem Blue Cross Blue Shield, PO Box 4445, Atlanta, GA 30302-4445
27487619                   Anytime Outhouse, 5503 N 550 W, Thorntown, IN 46071
27487620                   Applied Finishes USA LLC, PO Box 487, Hurricane, WV 25526-0487
27487621                   Aqua Scape Pools & Spas Inc., 1368 W Cary Dr, Dunnellon, FL 34434-7724




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27487623             Ardurra, 324 Nicholas Pkwy W Ste A, Cape Coral, FL 33991-2559
27487624             Arkansas Lighting, 1701 S 28th St, Van Buren, AR 72956-6268
27487625             Armor Exteriors, 17931 Kings Point Dr Apt L, Cornelius, NC 28031-0048
27487626             Arrowhead Manufacturing LLC, 7911 County Road 201, Fredericksburg, OH 44627-9627
27487627             Ascentium Capital, PO Box 301593, Dallas, TX 75303-1593
27487628         +   Aspired X, 16614 Jerhico Rd, Dalton, OH 44618-9656
27487630             Atlee J. Keim, 6910 State Route 515, Dundee, OH 44624-9645
27487631             Automatic Entrances of Wisconsin In, 1712 Paramount Ct, Waukesha, WI 53186-3967
27487632         +   Aveanna Healthcare, 400 Interstate North Pkwy SE Ste 16, Atlanta, GA 30339-5017
27487634             Bainbridge Palmore, 310 N Cattlemen Rd, Sarasota, FL 34232-6426
27487635             Banks & Associates CPAs LLC, PO Box 3686, Mansfield, OH 44907-0686
27487636         +   Barkan and Robon, 1701 Woodlands Dr, Maumee, OH 43537-4056
27487637             Barrier South, 390 Parris Island Gtwy, Beaufort, SC 29906-5138
27487638             Bauman & Sons Oil Inc., 9285 Norwalk Rd, Litchfield, OH 44253-9134
27487639             Becker Electric, 288 E Mills St, Columbus, NC 28722-8745
27487640             Belmont Savings Bank, 3301 Guernsey St, Bellaire, OH 43906-1527
27487641             Best Capital Leasing, 351 Fair Ave NW, New Philadelphia, OH 44663-1907
27487642             Bird & Bull Engineers & Surveyors, 3500 Snouffer Rd Ste 225, Columbus, OH 43235-2857
27487643             Blackbird Commerical Roofing LLC, 3236 State Route 93, Sugarcreek, OH 44681-9656
27487644             Blanchard CAT, 3151 Charleston Hwy, West Columbia, SC 29172-2723
27487646             BluSite Solutions of Savannah, PO Box 11407, Birmingham, AL 35246-0100
27487645        #+   Blushift Wireless, 5555 County Road 203 Ste B1, Millersburg, OH 44654-8291
27487648             Botzum Brothers Hardware, 520 N Arlington St, Akron, OH 44305-1638
27529283             Bradley Grose, c/o Winesburg Builders Ltd., PO Box 276, Winesburg, OH 44690-0276
27487649             Braxton Garza, 416 E Butler St, Adrian, MI 49221-2210
27487650             Brian Kraft, 2880 Sharonwood Ave NW, Canton, OH 44708-1638
27487651             Bridgeport Equipment & Tool, 500 Hall St, Bridgeport, OH 43912-1324
27652222         +   Brighter Vision Group, L.P., c/o Classic Development Portsmouth, LLC, 8501 State Route 335, Minford, OH 45653-8669
27487652             Brinkley Technology Group, 2770 Erie St S, Massillon, OH 44646-7943
27487653             Browning Contractors Inc., PO Box 382003, Germantown, TN 38183-2003
27487655             Buckeye Concrete Pumping Inc., 4813 Oxford State Rd, Middletown, OH 45044-8922
27487656             Buckeye Counters, 6917 S Kohler Rd, Apple Creek, OH 44606-9733
27487657             Buckeye Furniture, 10034 County Road 1, Shreve, OH 44676-9612
27487658             Buckeye Masonry & Construction LLC, 3731 US Route 62, Dundee, OH 44624-9202
27487674             CBG Midwest LLC, 520 N Arlington St, Akron, OH 44305-1638
27487720             CSC Service Works Super Laundry, 35 Corporate Dr Ste 220, Burlington, MA 01803-4244
27487660             Call One, PO Box 9002, Cape Canaveral, FL 32920-9002
27487661             Candlewood Suites, 9740 Commerce Center Ct, Fort Myers, FL 33908-3624
27487662             Canon Solutions America Inc., 12379 Collection Center Dr, Chicago, IL 60693-0123
27487663             Capital City Group, PO Box 2214, Decatur, AL 35609-2214
27487664             Capital City Group Inc., 2299 Performance Way, Columbus, OH 43207-2858
27487665             Capital Materials Coastal, PO Box 2847, Savannah, GA 31402-2847
27487666             Cardinal Concrete, 564 Peniel Rd, Patriot, OH 45658-9010
27487668             Carlton Lodge, 1629 W Maumee St, Adrian, MI 49221-1239
27487670             Carotti Engineering, 9124 58th Dr E, Lakewood Ranch, FL 34202-9187
27487671             Carpenter Drywall, 8154 Obannon Rd, Nashport, OH 43830-9399
27487672             Carrillo Concrete Constructions Ser, 3912 Creek Woods Dr, Plant City, FL 33563-4086
27578245         +   Carter Lumber of the South, Inc., 601 Tallmadge Road, Kent, OH 44240-7331
27487673             Cattlemen Properties LLC, 850 Shilo Rd, Sarasota, FL 34240-9705
27529268             Cenkner Engineering Associates Inc., 1314 4th Ave, Coraopolis, PA 15108-1675
27487675             Central Florida Expressway Authorit, PO Box 585070, Orlando, FL 32858-5070
27487676         +   Central Kentucky Sprinkler, 243 Industrial Pkwy, Nicholasville, KY 40356-9110
27487677             Centrus LLC, 4924 Stanbury Cir NW, Massillon, OH 44646-9579
27487678             Charles Swartzentruber, 4019 Iola Dr, Sarasota, FL 34231-8622
27487679             Chelsea Schlabach, 5120 Leihley Hill Rd NW, Sugarcreek, OH 44681-7777
27487680         +   Childrens Hospital Med Center of Ak, 1 Perkins Sq, Akron, OH 44308-1062
27487681             Chuck Nicholson, 7190 State Route 39, Millersburg, OH 44654-9204
27487682             Cigna, 900 Cottage Grove Rd, Bloomfield, CT 06002-2920
27487685         +   Citrix, 851 W Cypress Creek Rd, Fort Lauderdale, FL 33309-2040
27487686             City Electric Supply Company, PO Box 609521, Orlando, FL 32860-9521
27487687             City of Buffalo, 65 Niagara Sq Rm 301, Buffalo, NY 14202-3303
27487690             City of Fanning Springs, 17651 NW 90th Ct, Fanning Springs, FL 32693-9212
27487692             Clary's Sitework & Development Inc., 4661A Hancock Bridge Pkwy, North Fort Myers, FL 33903




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27487693             Clearview Excavating, 901 Heinsville Rd, Shelbyville, KY 40065-9673
27487694             Coastal Employment, 1536 Fording Island Rd Ste 108, Hilton Head Island, SC 29926-1144
27487695             Coastal Waste & Recycling Inc., PO Box 25756, Miami, FL 33102-5756
27487696             Collin B. Willey, 112 11th St NE, Massillon, OH 44646-8442
27487697             Collins Hammett Construction, 138 Johns Rd Bldg A, Greer, SC 29650-4713
27487698             Colorado Attorney General, 1300 Broadway Fl 10, Denver, CO 80012
27487699             Colorado Dept of Human Services, 1575 N Sherman St, Denver, CO 80203-1702
27487700             Colorado Dept of Labor and Employme, 633 17th St Ste 201, Denver, CO 80202-3624
27487702             Columbus Zoo & Aquarium, 9990 Riverside Dr, Powell, OH 43065-9606
27487704             Complete Transfer LLC, 13120 Aiken Rd, Louisville, KY 40223-4748
27487705             Concrete Placement Services LLC, 1271 Strobhart Rd, Ridgeland, SC 29936-7629
27487707             Container Port Group, 1340 Depot St Fl 2, Cleveland, OH 44116-1741
27487709             Corcoran Fire, 3328 Associates Dr, Burton, MI 48529-1302
27487710             Cornego Custom Welding, 1451 Industrial Dr, Lafayette, IN 47905-4871
27487712             Cottage Grove Commons LLC, 1202 Regent St, Madison, WI 53715-3600
27529266             Countertop Creations LLC, 7230 Newark Rd, Nashport, OH 43830-9072
27487714             Crain Supply, 6445 Old Highway 90, Milton, FL 32570-6603
27487715             Creative Holmes, 9098 State Route 39, Millersburg, OH 44654-9791
27487716             Critchfield Critchfield & Johnston, PO Box 599, Wooster, OH 44691-0599
27487717             Critchfield Critchfield & Johnston, 138 E Jackson St, Millersburg, OH 44654-1235
27529276             Critchfield Critchfield & Johnston Ltd., Attn: Eric T. Michener, Esq., PO Box 599, Wooster, OH 44691-0599
27487718             Cross Construction Company Inc., PO Box 231, Ballard, WV 24918-0231
27487719             Cross Island Parkway, PO Box 5096, Hilton Head Island, SC 29938-5096
27506800             Curry Roby LLC, Attn: Bruce A. Curry, Esq., 30 Northwoods Blvd Ste 300, Columbus OH 43235-4708
27487721             Custom Air & Plumbing, 5338 Pinkney Ave, Sarasota, FL 34233-2420
27487722             D.C. Graber Construction, 13156 Maddox Ridge Rd, Campbellsburg, KY 40011-7201
27487734             DM Construction, 3724 New Hudson Rd, Orwell, OH 44076-9724
27650897         +   DWC -- Education and Labor Cabinet, 500 Mero Street, 3rd Floor, Frankfort, KY 40601-1247
27487723             Dad Esparaza Construction Corp., 1039 N Beneva Rd, Sarasota, FL 34232-1332
27487724             Dan Weaver, 1234 Township Road 416, Dundee, OH 44624-9637
27487725             David Todd, 265 N 1st St, Clarksville, OH 45113-8693
27487727             Dean A. Cowell, 23 Spires Rd, Vinton, OH 45686-9144
27487728             Deborah Schwartz, 4556 Schilling Hill Rd NW, New Philadelphia, OH 44663-7980
27487729             Dependable Service Plumbing, PO Box 2716, Pawleys Island, SC 29585-2716
27487731             Diamond Jubilee Pelham LLC, c/o Carter R. Massingill, Esq., 55 Beattie Pl Ste 1200, Greenville, SC 29601-2170
27487732             Diaz Concrete Construction, 142 Ashton Pl, Ridgeland, SC 29936-6906
27487733         +   Dinsmore & Shohl LLP, 101 S 5th St Ste 25000, Louisville, KY 40202-3066
27487735         +   Doan Companies, PO Box 980629, Ypsilanti, MI 48198-0629
27487736             Dormakaba Canada Inc., PO Box 896502, Charlotte, NC 28289-6502
27487737             Doug Drywall Construction LLC, 6598 Ash Park Dr, Galloway, OH 43119-8280
27487738         +   Douglas A. Haessig, Esq., 30455 Solon Rd, Reimer Arnovitz Chernek & Jeffrey C, Solon, OH 44139-3415
27487739             Dover Tank & Plate Company, 5725 Crown Rd NW, Dover, OH 44622-9649
27487741             Dropbox, PO Box 10234, Pasadena, CA 91101
27487743             Duane N. Hershberger, 8434 Cement Bridge Rd NW, Dundee, OH 44624-8903
27487744             Dutchline, PO Box 158, Berlin, OH 44610-0158
27487745             E. Sam Jones Distributor, PO Box 536794, Atlanta, GA 30353-6794
27487755             EM Contractors, 2221 E Southport Rd, Indianapolis, IN 46227-5221
27487758             EP Construction, 9457 Hilda Ave, Richmond, VA 23237-3440
27487759             EPLS LLC, 250 Erin Ct, Lancaster, PA 17573-1965
27487746             Eagle Machinery & Supply Inc., 422 Dutch Valley Dr NE, Sugarcreek, OH 44681-7517
27487747             Echols Oil Company Inc., PO Box 1477, Greenville, SC 29602-1477
27487749         +   Edwards Mooney & Moses, 1320 McKinley Ave Ste B, Columbus, OH 43222-1115
27487750             Edwin Romario, 6422 Sand Castle Dr, Holland, MI 49423-8539
27487751             Electrical Solutions Inc., 2928 County Road Mn, Stoughton, WI 53589-2706
27487752             Elias Francisco Miguel Ramierz, 626 W Williams St, Lakeland, FL 33805-2114
27487753             Elite Flooring, 2433 State Route 39, Sugarcreek, OH 44681-9633
27487754             Elite Painting Services LLC, 3991 County Road 58, Millersburg, OH 44654-8508
27487756             Encompass Health Rehab Hospital, 6400 Edgelake Dr, Sarasota, FL 34240-8813
27487757             Enterprise Fleet, 8249 Mohawk Dr, Strongsville, OH 44136-1795
27487760         +   Eques Inc., 5989 County Road 77, Millersburg, OH 44654-9258
27487761             Eric T. Devoll, 8358 Township Road 662, Dundee, OH 44624-9634
27529274             Erie Insurance Exchange, c/o R. Brian Borla, Esq., 3737 Embassy Pkwy Ste 100, Akron, OH 44333-8380
27487762             Erik Brotherton Architect PLLC, 327 Washington Ave, Pleasantville, NY 10570-2019




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27487763             Ervin Schlabach, 3387 County Road 160, Millersburg, OH 44654-8366
27487764             Esther M. Hershberger, 2448 Township Road 414, Dundee, OH 44624-9239
27487765             Expressions Countertops LLC, PO Box 252, Baltic, OH 43804-0252
27487766             Extended Stay America- Bluffton, 108 Seagrass Station Rd, Bluffton, SC 29910-9549
27487770         +   FE Moran Inc., 3001 Research Rd, Champaign, IL 61822-1089
27487767             Fabtex, 29 Woodbine Ln, Danville, PA 17821-8022
27487769             Faster Better Construction Corp., 3427 29th St E, Bradenton, FL 34208-7311
27487772             Feikert Sand & Gravel Inc., 6871 Township Road 605, Millersburg, OH 44654-9125
27487773             Fenton Bros. Electric Inc., PO Box 996, New Philadelphia, OH 44663-0996
27487774             Ferguson Enterprises Inc., PO Box 100286, Atlanta, GA 30384-0286
27487775             Ferrellgas, PO Box 173940, Denver, CO 80217-3940
27487776             First Electrical Contractors LLC, 5820 SW 188th Ave, Southwest Ranches, FL 33332-1343
27529258             Fischer Evans & Robbins Ltd., Attn: Mark F. Fischer, Esq., 3521 Whipple Ave NW, Canton, OH 44718-3036
27487779             Flo Star Plumbing, 2136 Township Road 416, Dundee, OH 44624-9621
27487780             Florida Attorney General, PL-01 The Capitol, Tallahassee, FL 32399-1050
27487781             Florida Bureau of Workers Compensat, 200 E Gaines St, Tallahassee, FL 32399-6502
27487784             Florida DOT Toll By Plate, PO Box 31241, Tampa, FL 33631-3241
27487782         +   Florida Dept of Children & Families, 2415 N Monroe St Ste 400, Tallahassee, FL 32303-4190
27487786             Foundation, 5470 NW 10th Ter, Fort Lauderdale, FL 33309-2808
27487787             Fox Blocks Airlite Plastics, 32055 Collections Center Dr, Chicago, IL 60601
27487788             Francisco Ramon, 328 E 2nd St Rear, Dover, OH 44622-1804
27487790             Frantz Ward LLP, 200 Public Sq Ste 3000, Cleveland, OH 44114-2381
27487789             Frantz Ward LLP, Attn: Andrew M. Hanna, Esq., 200 Public Sq Ste 3000, Cleveland, OH 44114-2381
27487791             Fuelman, PO Box 70887, Charlotte, NC 28272-0887
27487792             GA Forestry, PO Box 344, Berlin, OH 44610-0344
27487794             GDN Welding & Construction, 26697 Danville Amity Rd, Danville, OH 43014-9769
27529267             Gallagher Gams Tallan Barnes & Littrell, Attn: Mitchell M. Tallan, Esq., 471 E Broad St Fl 19, Columbus, OH 43215-3864
27506797             Garland Real Estate LLC, 35479 State Route 78, Lewisville OH 43754-7512
27506802             Gary Rubel, 56314 Lakeview Dr, Senecaville OH 43780-7501
27487793         +   Gastroenterology & Hepatology Speci, 4360 Fulton Dr NW Ste B, Canton, OH 44718-2878
27487795             Genco Pools & Spas, 1217 NE Main St, Simpsonville, SC 29681-6019
27487796             Generator Systems, 2246 Port Centre Dr, Medina, OH 44256-5994
27487797             Geo Technologies, 1016 SE 3rd Ave, Ocala, FL 34471-3728
27487805         +   GeoTechnology, 11816 Lackland Rd Ste 150, Saint Louis, MO 63146-4263
27487798             George's Concrete Pumping Services, PO Box 33635, Indianapolis, IN 46203-0635
27487799             Georgetown County Building Departme, PO Box 421270, Georgetown, SC 29442-4200
27487801         +   Georgia Board of Workers Compensati, 270 Peachtree St NW, Atlanta, GA 30303-1255
27487803             Georgia Div of Family & Childrens S, 2 Peachtree St NW Fl 19, Atlanta, GA 30303-3142
27487804             Geos Enterprises LLC, 806 Powdersville Rd Ste R, Easley, SC 29642-1980
27487806             Gilchrist County Tax Collector, PO Box 194, Trenton, FL 32693-0194
27487807             Gingerich Trailer Sales, 5815 State Route 39, Millersburg, OH 44654-8330
27487808             Glass Doctor, PO Box 495, Millersburg, OH 44654-0495
27487810         +   Godaddy, 14455 N Hayden Rd Ste 219, Scottsdale, AZ 85260-6947
27487811             Golden Rule Lumber & Hardware, 4100 Guthrie Rd, Guthrie, KY 42234-9110
27487812             Graber's Concrete Construction LLC, 6520 N 110th E, Loogootee, IN 47553
27487813             Grace Hostetler, 6334 State Route 93 NW, Dundee, OH 44624-8714
27576318         +   Grant E. Swartzentruber, 6214 E 750 N, Odon, IN 47562-5124
27487814             Graves Lumber, PO Box 14870, Copley, OH 44321-4870
27487815             Great American Insurance Company, 301 E 4th St Fl 24, Cincinnati, OH 45202-4278
27487816             Green Care Lawn, PO Box 96, Dundee, OH 44624-0096
27487817             Guaranteed Supply Company, PO Box 36007, Greensboro, NC 27416-6007
27487818             Gutierrez Flooring Service, 5608 Carrollwood Meadows Dr, Tampa, FL 33625-3272
27487822             HD Supply Waterworks, PO Box 28330, Saint Louis, MO 63146-0830
27487831             HL Sales, 11461 Salt Creek Rd, Fredericksburg, OH 44627-9755
27487819             Hampton Inn Fort Myers, 11281 Summerlin Square Dr, Fort Myers Beach, FL 33931-5367
27487820             Harmon Interiors, 11360 N 1300 E, Loogootee, IN 47553-5178
27487821             Haynsowrth Sinkler Boyd PA, PO Box 2048, Greenville, SC 29602-2048
27487823             Heartland Masonry & Construction LL, 1567 County Road 168, Dundee, OH 44624-9219
27487824             Heartland Stairways, 7964 Township Road 565, Holmesville, OH 44633-9702
27487825             Heartland Title Agency LLC, 138 E Jackson St, Millersburg, OH 44654-1235
27487826         +   Henderson Covington, et al., Attn: Jerry Bryan, 6 Federal Plz Ste 1300, Youngstown, OH 44503-1440
27487827             Herc Rentals, PO Box 936257, Atlanta, GA 31193-6257
27487829             Hickory Lane Welding, 11657 Salt Creek Rd, Fredericksburg, OH 44627-9755




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27487830             Hillside Propane Inc, 2113 Dutch Valley Dr NW, Sugarcreek, OH 44681-7922
27487832             Holiday Inn Express Worthington, 55 Hutchinson Ave, Columbus, OH 43235-1413
27487833             Holmes Auto LLC, 7190 State Route 39, Millersburg, OH 44654-9204
27487834             Holmes Family Medicine, 151 Parkview Dr, Millersburg, OH 44654-8949
27487835             Holmes M & M Construction, 5024 Township Road 382, Millersburg, OH 44654-9208
27487836             Holmes Oil Distributing, PO Box 148, Millersburg, OH 44654-0148
27487837             Holmes Power Equipment, 7700 State Route 241, Millersburg, OH 44654-8387
27487838             Holmes Redimix, 7571 State Route 83, Holmesville, OH 44633-9633
27487840             Holmes Wayne Electric Cooperative I, PO Box 112, Millersburg, OH 44654-0112
27487842         +   Hoosier Glass Co., 562 S Post Rd, Indianapolis, IN 46239-9699
27487843             Hospitality Design, 11720 Horseshoe Way, Richmond, BC V7A 4-V
27487844             Hotel Fitness, PO Box 8550, Fort Wayne, IN 46898-8550
27487845             Hummel Group Inc., PO Box 250, Berlin, OH 44610-0250
27487847             Huware Construction & Development I, 15906 Ryan Dr, Belton, MO 64012-5361
27487848             IBP Savannah, PO Box 631, Pooler, GA 31322-0631
27487849             Ice Machines Plus, 24 Maple St, Wethersfield, CT 06109-3417
27487851             ImaginIt Technologies, 28127 Network Pl, Chicago, IL 60673-1281
27487853             Indiana Family & Social Services Ad, PO Box 7083, Indianapolis, IN 46207-7083
27487854             Integrity Construction II Inc., PO Box 728, Bellville, OH 44813-0728
27529265             Isaac Wiles Burkholder & Teetor LLC, Attn: James M. Roper, Esq., 2 Miranova Pl Ste 700, Columbus, OH 43215-5098
27487858             J & M Mining, 17253 State Route 279, Oak Hill, OH 45656-9711
27487859             J Crane Inc., 10315 W US Route 36, Covington, OH 45318-7902
27529263             J. Michael Gatien, Esq., 2371 Chestnut Hill St NW, North Canton, OH 44720-5822
27487863             JC Professional Drywall LLC, 112 Lynn Dr, Taylors, SC 29687-4113
27487864             JDW Architects, 2707 S Clarksville Rd, Clarksville, OH 45113-9307
27487865             JE & MA Enterprises LLC, 2336 Wild Tamarind Blvd, Orlando, FL 32828-7394
27487869             JLG Industries Inc., 14943 Collection Center Dr, Chicago, IL 60693-0149
27487879             JP Farley, PO Box 458022, Westlake, OH 44145-8022
27487880         #   JSD Professional Services, 161 Horizon Dr Ste 101, Verona, WI 53593-1249
27487882             JW Craft Inc., 4329 Enterprise Ave, Naples, FL 34104-7010
27487860             James R. Jones, 59484 County Road 2, Newcomerstown, OH 43832-9681
27529271             Janik LLP, Attn: Steven G. Janik, Esq., PO Box 470550, Cleveland, OH 44147-0550
27487861             Jansen & Sons Insulation, PO Box 534451, Atlanta, GA 30353-4451
27487862             Jay Masonry Inc., 2235 Township Road 151, Millersburg, OH 44654-9414
27487866             Jeremy and Beth Barlet, 171 Old Pond Cir, Bluffton, SC 29910-7811
27487867             Jerry W. Hershberger, et al., 2425 Township Road 444, Sugarcreek, OH 44681-9419
27487868             Jim Miller, 4669 Township Road 422, Sugarcreek, OH 44681-9401
27487870             Joel I. Miller, 3028 US Route 62, Dundee, OH 44624-9238
27487871             Joey Troyer, 4610 Ardale St, Sarasota, FL 34232-4020
27487872             John G. Farnan, Esq., Weston Hurd LLP, 1300 E 9th St Ste 1400, Cleveland, OH 44114-1573
27487873             John Holland, 27 Meadowbrook Dr, Mount Vernon, OH 43050-9452
27487874             John Weaver, 13480 Harrison Rd, Apple Creek, OH 44606-9615
27487875             Jordi Construction LLC, 6706 Coolridge Rd, Temple Hills, MD 20748-2704
27487876             Jose Chavez, 115 10th St W, Palmetto, FL 34221-3952
27487877             Jose Ledesma Corea, 636 12th St NW, New Philadelphia, OH 44663-1043
27487881             July Services, PO Box 2208, Waco, TX 76703-2208
27487883             K & W Yard Designs, 7487 E 650 N, Montgomery, IN 47558-5090
27487885             KB Walker, W230S4513 Milky Way Rd, Waukesha, WI 53189-7911
27487898         #   KT Services LLC, 5666 Tynecastle Loop, Dublin, OH 43016-6041
27487884             Kann Custom Welding LLC, 10339 Justus Ave SW, Beach City, OH 44608-9504
27487886             Keim Concrete LLC, 4175 W Old Lincoln Way, Wooster, OH 44691-3241
27487887             Keim Concrete Pumping, 1610 County Road 200, Dundee, OH 44624-9611
27487888             Keller North America Inc., 5461 W Waters Ave Ste 900, Tampa, FL 33634-1233
27487889             Kenny's Air Conditioning & Heating, 4418 N Cortez Ave, Tampa, FL 33614-7020
27487891             Kentucky Dept of Health & Family Sv, 275 E Main St, Frankfort, KY 40621-1000
27487893         +   Kentucky Dept of Workers Compensati, 500 Mero St Ste 3, Frankfort, KY 40601-1247
27487894             Kentucky Employers' Mutual Insuranc, PO Box 12500, Lexington, KY 40583-2500
27487895             Kentucky Utilities, PO Box 25212, Lehigh Valley, PA 18002-5212
27487896         +   Key Blue Prints Inc., 195 E Livingston Ave, Columbus, OH 43215-5793
27487897         +   Koorsen Fire & Security, 2719 N Arlington Ave, Indianapolis, IN 46218-3300
27487899             Kurtz Construction, 5223 Donley Rd, Middlefield, OH 44062-9518
27487900             Kyle T. Anderson, Esq., 1160 Dublin Rd Ste 400, Columbus, OH 43215-1052
27487901             L & J Erection, 102 W Pike St, Houston, PA 15342-1462




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27487902             L & W Supply, PO Box 74008229, Chicago, IL 60674-8229
27487907             LD&D, 503 Washburn Ave Ste 101, Louisville, KY 40222-4798
27487903             Lamp Flooring, 50 Harrison St, Newport, OH 45768-9050
27487904         +   Last Stop Carpentry, 8509 Honors St, Champions Gate, FL 33896-5497
27487905             Laura Becker, 3013 Summerfield Dr, Louisville, KY 40220-3327
27487906         +   Law Offices of Daniel A. Seigel, 401 E Las Olas Blvd Ste 130-254, Fort Lauderdale, FL 33301-2218
27529278             Lee Stone Ltd., c/o Leroy J. Hershberger, 4040 Graber Rd, Fredericksburg, OH 44627-9544
27487909             Lenawee Hospitality LLC, 457 S Reynolds Rd Ste 115, Toledo, OH 43615-5953
27487910             Lenny Gonzalez, 11554 Township Road 259, Millersburg, OH 44654-9775
27487911             Levi Schlabach, 305 Saddle Hill Rd, Oak Hill, OH 45656-9217
27487912             Liberty Mutual Insurance, PO Box 1449, New York, NY 10116-1449
27487913             Liberty Redi-Mix, 1001 Eastwood Ave, Akron, OH 44305-1127
27487916             Lucas Electrical Contractors, 12300 Sprecher Ave, Cleveland, OH 44135-5124
27487917             Luna Drywall and Paint LLC, 22 Essex Ct, Bluffton, SC 29910-4008
27487918             Lynn Trucking Inc., 6448 S County Road 675 E, Plainfield, IN 46168-8655
27487919             M & H Plumbing Supply LLC, 3367 Township Road 414, Dundee, OH 44624-9209
27487920             M & H Supply, 6605 State Route 515, Dundee, OH 44624-9216
27487921             M & M Excavating LLC, 373 Graytwig Cir, Murrells Inlet, SC 29576-6467
27487922             M.T. Services Inc., PO Box 136, Berlin, OH 44610-0136
27487954             MP Renovations Inc., 407 River Heights Cir, Anderson, SC 29621-6534
27487955             MPL Company, 203 N Edgerton St, Fairland, IN 46126-2036
27506799             Mansour Gavin LPA, Attn: Edward O. Patton, Esq., 1001 Lakeside Ave E Ste 1400, Cleveland OH 44114-1172
27529262             Martinelli Pools & Spas, 237 Commercial Ave SE, New Philadelphia, OH 44663-2338
27487923             Mary D. Miller, 4827 Leihley Hill Rd NW, Sugarcreek, OH 44681-7774
27487924             Masada Funding LLC, 20 Jay St, Brooklyn, NY 11201-8301
27487925             Mast Construction LLC, 230 Creswell Ave E, Greenwood, SC 29646-3402
27582488         +   Matthew W. Onest, 6715 Tippecanoe Road, 2C, Canfield, OH 44406-8180
27487926             Maxim Crane Works LP, 4389 Solutions Ctr, Chicago, IL 60677-4003
27487928             Medwatch LLC, 400 Colonial Center Pkwy Ste 320, Lake Mary, FL 32746-7682
27487929         +   Mel & Mary's Cottages, 2972 Township Road 190, Baltic, OH 43804-9691
27487930             Mel Raber, 4805 Township Road 366 Unit 183, Millersburg, OH 44654-8266
27487931         #   Michael Miller, 2159 Township Road 416, Dundee, OH 44624-9220
27529280             Michael W. Miller, 3731 US Route 62, Dundee, OH 44624-9202
27487933             Michigan Dept of Health & Human Svc, PO Box 30195, Lansing, MI 48909-7695
27487934             Michigan Dept of Revenue, Michigan Dept of Treasury, Lansing, MI 48901
27487935             Michigan Workers Compensation Agenc, PO Box 30016, Lansing, MI 48909-7516
27487936             Mid Ohio Powder Coating, 4041 Township Road 606, Fredericksburg, OH 44627-9685
27487937             Midwest Equipment Sales, 777 Manor Park Dr, Columbus, OH 43228-9522
27487938             Mike Tackett, 381 Grasslick Rd, Gassaway, WV 26624-7622
27487939             Miller General Construction, 3712 Rice Rd, Orwell, OH 44076-9715
27487940             Miller Hardware & Supply Ltd., PO Box 15, Winesburg, OH 44690-0015
27487941             Miller Rousabout Service Inc., 9429 Winesburg Rd, Dundee, OH 44624-9438
27487942             Miller's Reliable Waste Service, 10930 Erie Ave SW, Beach City, OH 44608-9791
27506801             Milligan Pusateri Co LPA, Attn: Jack B. Cooper, Esq., PO Box 35459, Canton OH 44735-5459
27487943             Mills Supply, 1100 S 9th St, Louisville, KY 40203-3122
27487944             Mincey Bathroom Installation Inc., 936 Azalea Rdg, Dahlonega, GA 30533-5609
27487945             Mincey Marble, 1940 New Harvest Rd, Gainesville, GA 30507-8772
27487946             Mini Mobile, PO Box 650882, Dallas, TX 75265-0882
27487947         +   Mitchell S. Devoll, 11504 Portland Ave SW, Beach City, OH 44608-9703
27487948             Mohawk Group, PO Box 935553, Atlanta, GA 31193-5553
27529279             Mollica Gall Sloan & Sillery Co LPA, Attn: Zachary L. Tidaback, Esq., PO Box 958, Athens, OH 45701-0958
27487949             Moore & Neidenthal Inc., PO Box 468, Dover, OH 44622-0468
27487950             Moses Mille, 2040 Township Road 414, Dundee, OH 44624-9204
27529281             Motorists Mutual Insurance Company, c/o Lucas P. Baker, Esq., 655 Metro Pl S Ste 200, Dublin, OH 43017-5352
27487951             Mount Eaton Engine Shop, 10225 Senff Rd, Dundee, OH 44624-9435
27487952             Mount Eaton Trailer LLC, 9252 County Road 186, Dundee, OH 44624-9408
27487953             Mount Hope Fence, PO Box 95, Mount Hope, OH 44660-0095
27487956             Myron Miller Trucking Inc., 7125 Township Road 310, Millersburg, OH 44654-9201
27487968             NLR Tools Limited, 44832 County Road 75, Conesville, OH 43811-9712
27529282             Naomi R. Miller, c/o Winesburg Builders Ltd., PO Box 276, Winesburg, OH 44690-0276
27487957             National Construction Rentals, PO Box 4503, Pacoima, CA 91333-4503
27487959             Nevin Hostetler, 8046 State Route 516 NW, Dundee, OH 44624-8601
27487960             New View Resurfacing, 2511 Treat St, Adrian, MI 49221-4011




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27487961             New York Attorney General, The Capitol, Albany, NY 12201-0341
27487963             New York Office of Children & Famil, Capital View, 52 Washington St Ofc, Rensselaer, NY 12144-2834
27487964             New York State Fund Insurance, PO Box 5520, Binghamton, NY 13902-5520
27487965             New York Thruway, PO Box 15186, Albany, NY 12212-5186
27487967             Nivea Hospitality LLC, 6860 County Road 672, Millersburg, OH 44654-8349
27487969             Noah Yutzy & Sons Builders LLC, 16109 Shedd Rd, Middlefield, OH 44062-9154
27487970             Northeast Ohio Gas, PO Box 74008596, Chicago, IL 60674-8596
27487972             NueSynergy, 4601 College Blvd Ste 280, Leawood, KS 66211-1650
27575131         #   OMNI FIREPROOFING CO,LLC, 9305 LESAINT DRIVE, FAIRFIELD, OH 45014-5447
27487977             Ohio Child Support Center, PO Box 182394, Columbus, OH 43218-2394
27487978             Ohio Department Of Commerce, PO Box 4009, Reynoldsburg, OH 43068-9009
27487980             Ohio Lumber Brick & Block LLC, 8890 State Route 117, Huntsville, OH 43324-9600
27487981         +   Ohio Specialty Surgery Center, 7442 Frank Ave, North Canton, OH 44720-7018
27487982         +   Ohio State Outpatient Care, 6100 N Hamilton Rd, Westerville, OH 43081-2062
27487984             Okatie Construction, PO Box 909, Ridgeland, SC 29936-2616
27487985         #   Omni Fireproofing Co. LLC, 9305 Le Saint Dr, Fairfield, OH 45014-5447
27487986             OneFunder LLC, 8019 N Himes Ave Ste 300, Tampa, FL 33614-2761
27487987             Only Experienced Professionals LLC, 3855 Paragon Dr, Columbus, OH 43228-9484
27487988             Orrville Trucking & Grading, PO Box 220, Orrville, OH 44667-0220
27487989         +   Ortho United, 7442 Frank Ave NW, North Canton, OH 44720-7018
27487990             Oscar W. Larson Co., 10100 Dixie Hwy, Clarkston, MI 48348-2414
27487991             Otis Elevator Company, 6010 Corporate Way, Indianapolis, IN 46278-2923
27487992             Pac-Van Inc., PO Box 840514, Dallas, TX 75284-0514
27487993             Palmetto Electric Cooperative Inc., PO Box 530812, Atlanta, GA 30353-0812
27487994             Palmetto State Glass, 1501 Saint Andrews Rd, Columbia, SC 29210-5933
27487995             Paracorp, PO Box 160568, Sacramento, CA 95816-0568
27487996             Pass Industries, 6207 28th St E, Bradenton, FL 34203-5337
27487998             Patriot Engineering and Environment, 6150 E 75th St, Indianapolis, IN 46250-2783
27487999             Paul Becker, 6159 Rosalind Ct, Huntington, WV 25705-2320
27488000             Peachtree Construction, 2054 Laramie Rd NW, Carrollton, OH 44615-9056
27529260             Pelini Campbell & Williams LLC, Attn: Kristen E. Campbell Traub, Esq., 8040 Cleveland Ave NW Unit 400, North Canton, OH
                     44720-5699
27488001             Pennsylvania Attorney General, 4801 Atlantic Ave, Erie, PA 16506-4589
27488002         +   Pennsylvania Dept of Human Services, Bureau of Administrative Services, PO Box 2675, Harrisburg, PA 17105-2675
27488003             Pennsylvania Dept of Revenue, 448 W 11th St, Erie, PA 16501-1594
27488004             Pennsylvania Dept of Workers Comp, 1700 Labor and Industry Bldg, Harrisburg, PA 17120-0105
27488006             Peppers Plumbing, 5973 State Route 241, Millersburg, OH 44654-9464
27488007             Performance Plumbing LLC, 2050 Township Road 416, Dundee, OH 44624-9640
27488008             Peterson Contractors Inc., PO Box A, Reinbeck, IA 50669-0155
27488010             Phillips Hospitality, 490 N McCarthy Blvd, Milpitas, CA 95035-5118
27488012             Piper Fire Protection, 13075 US Highway 19 N, Clearwater Beach, FL 33764-7224
27488015             Pleasant Valley Redi-Mix, PO Box 436, Sugarcreek, OH 44681-0436
27488016             Port-A-Johnnie Inc., 24 Main St, Shelbyville, KY 40065-1020
27488017             Porta Kleen Industrial Services Inc, 1300 Paysphere Cir, Chicago, IL 60674-0013
27488018             Portsmouth Block, 2700 Gallia St, Portsmouth, OH 45662-4807
27488019             Premiere LLC, 3445 Harvest Dr Ste A, Gordonville, PA 17529-9514
27488020         +   Procore Technologies, Dept CH 10757, Palatine, IL 60055-0001
27488021             Professional Safety Documents, PO Box 576, Kent, OH 44240-0010
27488022             Protegis Fire & Safety, PO Box 931933, Cleveland, OH 44193-0004
27488023             Provia, 2150 State Route 39, Sugarcreek, OH 44681-9201
27488024             Provision Concepts LLC, PO Box 1348, Shelbyville, KY 40066-1348
27488025             Pumpcrete America Inc., 161 Comfort Rd, Palatka, FL 32177-8637
27488026             Quality Exteriors of Holmes County, PO Box 34, Walnut Creek, OH 44687-0034
27488027             Quality Inn & Suites Cincinnati, Attn: Raja Prasad, 800 W 8th St, Cincinnati, OH 45203-1602
27488028             Quality Panel LLC, 8139 Criswell Rd, Fredericksburg, OH 44627-9709
27488029         +   Quest Diagnostics, PO Box 74050, Cincinnati, OH 45274-0001
27488030             R & D Truck Center, 135 Pine St, Gallipolis, OH 45631-1535
27488031             R. Gingerich Construction LLC, 10820 Township Road 268, Millersburg, OH 44654-8405
27488032             RAM Tool, 4500 5th Ave S Ste A, Birmingham, AL 35222-2911
27488035             RB Diesel Services, PO Box 196, Berlin, OH 44610-0196
27488036             RE Purnell Construction Inc., PO Box 1559, Shelbyville, KY 40066-1559
27488039        ++   REGIONAL INCOME TAX AGENCY, PO BOX 470537, ATTENTION LEGAL DEPARTMENT, BROADVIEW HEIGHTS OH
                     44147-0537 address filed with court:, Regional Income Tax Agency, PO Box 94951, Cleveland, OH 44101-4951




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27488040             REKS Contractors Inc., 2660 Springbluff Ct, Buford, GA 30519-4191
27488045             RL Hochstetler Flooring Ltd., 8919 E Moreland Rd, Apple Creek, OH 44606-9445
27488046             RM Masonry Renovation, 100 Wallace Ave Ste 425, Sarasota, FL 34237-6058
27488052             RX Help Centers LLC, 3905 Vincennes Rd Ste 200, Indianapolis, IN 46268-3039
27488033             Ramons Carpentry LLC, 532 Briarwood Rd, Venice, FL 34293-3247
27488034         +   Ray's Trash Service Inc., Drawer 1, Clayton, IN 46118-0001
27488037         +   Reading Rock, 4600 Devitt Dr, Cincinnati, OH 45246-1130
27488038             Rees Cast Stone, 901 Commercial Pkwy, Dover, OH 44622-3153
27488042             Republic Services, 2800 Erie St S, Massillon, OH 44646-7915
27488043             Rick Lanning, 1021 Newark Rd, Mount Vernon, OH 43050-4640
27488047             Rooter-Man, 11595 66th St, Largo, FL 33773-5410
27506798             Rueben J. Schlabach, 3038 US Route 62, Dundee OH 44624-9238
27488048         +   Rumpke Waste & Recycling, 3990 Generation Dr, Cincinnati, OH 45251-4906
27488049             Russell Garza, 1996 Harold St, Adrian, MI 49221-4451
27488063             SFM Code Enforcement, PO Box 4009, Reynoldsburg, OH 43068-9009
27488064             SH Construction LLC, PO Box 878, Hardeeville, SC 29927-0878
27488074             SMP Painting Contactors, 1406 Commerce Pl, Myrtle Beach, SC 29577-6550
27488078             SOAP Properties, 7410 Ratchford Ct, New Albany, OH 43054-8970
27488088             SRB Capital LLC, 8868 Columbus Rd, Mount Vernon, OH 43050-4404
27488089             SRM Concrete, 10000 Hollingshead Cir, Murfreesboro, TN 37127
27488090             SSB Community Bank, PO Box 107, Strasburg, OH 44680-0107
27488053         +   Safe-N-Sound Security, 5555 County Road 203, Millersburg, OH 44654-8291
27488054             Safety Quip Inc., 4950 Getwell Rd, Memphis, TN 38118-7722
27488055             Safety-Kleen Systems Inc, 42 Longwater Dr, Norwell, MA 02061-1612
27488056         +   Sage One LLC, 2972 Township Road 190, Baltic, OH 43804-9691
27488057             Samples Oilfield Trucking, 13911 Millersburg Rd, Danville, OH 43014-9697
27488058             Saturn Encore Funding, 1420 E 32nd St Ste 316, Brooklyn, NY 11234-3404
27488059             Schindler Elevator Corporation, PO Box 70433, Chicago, IL 60673-0433
27529264             Schrocks Heritage Furniture, c/o James Mast, 1850 US Route 62, Dundee, OH 44624-9686
27488060             Schwartz Siding Roofing & Renovatio, PO Box 357, Westfield, IN 46074-0357
27488061             Scott Fenwick Wallcovering, 4864 Kresge Dr, Columbus, OH 43232-4535
27488062             Seal Craft by Contour Windows Inc., 2211 Auburn Rd, Auburn Hills, MI 48326-3108
27529270             Shaeffer & Madama, 57 14th St, Wheeling, WV 26003-3426
27488065         +   Shane Neighbor, 407 Canal St, Newcomerstown, OH 43832-1203
27488066         +   Shelter Products Inc., PO Box 734399, Dallas, TX 75373-4399
27488067             Signature Real Estate, 1313 N Section St, Sullivan, IN 47882-9226
27488068             Simmons Manufacturing Co. LLC, PO Box 945655, Atlanta, GA 30394-5655
27488069             Skelton's Plumbing, 5921 Waddy Rd, Waddy, KY 40076-6101
27488070             Sleep Inn Hocking Hills Logan, 12830 Grey St, Logan, OH 43138-9638
27488071             Sleep Inn Mainstay Suites, 5965 Brookhill Blvd, Sarasota, FL 34232-6302
27488072             Slusarski Excavating & Paving Inc., 119 Greenly St, Adrian, MI 49221-2013
27488073             Smith's Septic Tank Service, PO Box 838, Bell, FL 32619-0838
27488075             Snap-On Tools, 10755 State Route 39, Millersburg, OH 44654-9773
27488076             Snyder Brick & Block, PO Box 688, Dayton, OH 45409-0688
27488077             Snyder's Excavation LLC, 4312 Vilas Hope Rd, Cottage Grove, WI 53527-9556
27488081             South Carolina Dept of Social Servi, PO Box 1520, Columbia, SC 29202-1520
27488082             South Carolina Workers Compensation, PO Box 1715, Columbia, SC 29202-1715
27488085             Southern Cross Fire Protection, 41014 Clay Gully Rd, Myakka City, FL 34251-8931
27488086             Spring Construction, PO Box 3633, Bluffton, SC 29910-3633
27488087             Springhill Suites by Marriott, 610 Eden Park Dr, Cincinnati, OH 45202-6031
27488091             Stanley Access Technologies, 7652 Sawmill Rd Ste 281, Dublin, OH 43016-9296
27488093             State Road Construction, 6578 State Route 537, West Farmington, OH 44491
27488094             Stevens Disposal & Recycling Servic, PO Box 500, Temperance, MI 48182-0500
27488095             Stocker Concrete, PO Box 176, Gnadenhutten, OH 44629-0176
27488096             Stoll Bros. Lumber Inc., PO Box 367, Odon, IN 47562-0367
27488097             Stoney Point Hardware, 4455 County Road 229, Fredericksburg, OH 44627-9426
27488098             Stratus Building Solutions, 115 Whitsett St, Greenville, SC 29601-3138
27488099             Suburban Drywall Inc., 195 Enterprise Dr, Lake Mills, WI 53551-1763
27488102             Sunshine Metal Supply Inc., 719 Cattlemen Rd, Sarasota, FL 34232-2852
27488103         +   Sunstate Equipment Co., PO Box 208439, Dallas, TX 75320-8439
27488104             Superior Services, 36 Persminnon St Ste 202, Bluffton, SC 29909
27488105             Suwannee Glass Inc., 9036 101st Ct, Live Oak, FL 32060-7684
27488143         +   TPG Sports Performance Center, 1 Robinson Plz Ste 230, Pittsburgh, PA 15205-1000




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27488112             Tax Matters Inc., PO Box 165, Sugarcreek, OH 44681-0165
27488116             Tennessee Dept of Human Services, 505 Deaderick St, Nashville, TN 37243-1402
27488117             Tennessee Dept of Labor & Workforce, 220 French Landing Dr, Nashville, TN 37243-1002
27488118             Terracon Consultants Inc., PO Box 959673, Saint Louis, MO 63195-9673
27488119             Terry Griffith, 146 Garland Cir, Easley, SC 29642-8910
27488120             Teto's Concrete LLC, 1106 Williams Rd, Plant City, FL 33565-2452
27488122             The Carter-Jones Lumber Co., 601 Tallmadge Rd, Kent, OH 44240-7331
27488123             The Cincinnati Air Conditioning Co., 2080 Northwest Dr, Cincinnati, OH 45231-1700
27488124         +   The Cleveland Clinic, PO Box 89410, Cleveland, OH 44101-6410
27488125             The Coblentz Group LLC, PO Box 158, Berlin, OH 44610-0158
27488126             The Commercial & Savings Bank, 91 N Clay St, Millersburg, OH 44654-1117
27488127             The Eifes & Stucco LLC, 1039 N Beneva Rd, Sarasota, FL 34232-1332
27488128             The Farmers Savings Bank, 111 W Main St, Spencer, OH 44275-9565
27488129             The Glassman, 2930 S Orange Blossom Trl, Orlando, FL 32805-6374
27488130             The Masonry by Allstate, 2715 Bardstown Rd Ste 211, Louisville, KY 40205-2650
27488131             The Matrix Companies, 644 Linn St Ste 900, Cincinnati, OH 45203-1738
27488132             The Reaves Firm Inc., 6800 Poplar Ave Ste 101, Memphis, TN 38138-7448
27488133             The Reserve at Williams Glen, 2201 Williams Glen Blvd, Zionsville, IN 46077-1185
27488134             The Waterworks, 550 Schrock Rd, Columbus, OH 43229-1062
27488135             The Wells Group LLC, 611 W Main St, West Liberty, KY 41472-2005
27488136             Thomas Brothers Nursery & Landscapi, 5104 Old Augusta Rd, Greenville, SC 29605-1519
27488137             Titan Florida LLC, PO Box 932622, Atlanta, GA 31193-2622
27488138             Todd A. Harpst, Esq., Nicolas J. Horrigan, Esq., 1559 Corporate Woods Pkwy Ste 250, Uniontown, OH 44685-7822
27488139             Toi Toi USA, PO Box 11407, Birmingham, AL 35246-0100
27488141             Tom Devoll, 8358 Township Road 662, Dundee, OH 44624-9634
27488142             Towpath Ready Mix, PO Box 207, Beaver, OH 45613-0207
27488144             Trademark Distribution Sales, 5377 County Road 626, Millersburg, OH 44654-8842
27488145             Traffic Detectors & Signs Inc., 7521 Forest Hill Ave, Youngstown, OH 44514-2635
27488146             Trail Battery & Solar, 5977 State Route 515, Millersburg, OH 44654-9111
27488148             Traveler's Alliance Group, PO Box 7064, San Francisco, CA 94120-7064
27488149             Traveler's Insurance, PO Box 660317, Dallas, TX 75266-0317
27488150             Tri State Concrete Pumping Inc., 4813 Oxford State Rd, Middletown, OH 45044-8922
27488151         +   Trinity Drywall & Painting LLC, 1080 Bassett Rd Ste A, Westlake, OH 44145-1258
27488152             Troy Ridge Manufacturing, 3998 County Road 168, Millersburg, OH 44654-7000
27488153             Tuscarawas County Health District, 897 E Iron Ave, Dover, OH 44622-2030
27488154         +   Twin K Trucking, 5166 Leighly Hill Rd NW, Sugarcreek, OH 44681-7777
27651230         +   U.S. Specialty Insurance Company, Frantz Ward LLP/Melissa Jones, 200 Public Square, Suite 3000, Cleveland, Ohio 44114-2381
27488160             UPS, 28013 Network Pl, Chicago, IL 60673-1280
27488162        ++   US SMALL BUSINESS ADMINISTRATION, 65 EAST STATE STREET SUITE 1350, COLUMBUS OH 43215-4237 address filed with
                     court:, US Small Business Administration, Cleveland District Office, 1350 Euclid Ave Ste 211, Cleveland, OH 44115-1815
27488164             US Speciality Insurance Company, 801 S Figueroa St Ste 700, Los Angeles, CA 90017-2523
27488155             Ulmer & Berne LLP, Attn: Richard T. Hamilton Jr, 1660 W 2nd St Ste 1100, Cleveland, OH 44113-1406
27648943         +   Ulmer & Berne LLP, c/o Michael S. Tucker, Esq., 1660 West 2nd Street, Suite 1100, Cleveland, OH 44113-1406
27529273             United Ohio Insurance Company, c/o Matthew R. Planey, Esq., 500 S Front St Ste 1200, Columbus, OH 43215-7631
27488156             United Rentals, PO Box 100711, Atlanta, GA 30384-0711
27488157             United States Surety Company, 1 Texas Station Ct Ste 230, Timonium, MD 21093-8288
27488158         +   Universal Engineering Sciences Inc., PO Box 628734, Orlando, FL 32862-8734
27488159             Unlimited Concrete, 2795 Weigand Rd, Lockbourne, OH 43137-9638
27488174             VK Custom Kitchens, 72 S Main St, Inman, SC 29349-1673
27488165             Valesco Manufacturing Inc., 7857 N 1100 E, Loogootee, IN 47553-5628
27488166             Valley Health System, 1301 Hal Greer Blvd, Huntington, WV 25701-3803
27488167             Van Lann Construction Supply, 3240 68th St SE, Caledonia, MI 49316-7654
27488168             Vector Engineers Inc., PO Box 478, Columbus, OH 43085-0478
27488169             Veraluxe, 6661 State Route 515, Dundee, OH 44624-9254
27488171         +   Village Motors, 784 Wooster Rd, Millersburg, OH 44654-1000
27488172             Village of Fredericksburg, Attn: Tax Adminstrator, 8400 Millbrook Rd, Shreve, OH 44676-9110
27488173         +   Virgil L. Herchberger, 1523 Union Church Rd, Pleasureville, KY 40057-9619
27789176             WB Services Inc., 2425 Township Road 414, Dundee, OH 44624-9239
27488180             WCH Transport LLC, 6214 E 750 N, Odon, IN 47562-5124
27488195             WHL&P, 2871 US Route 62, Dundee, OH 44624-9236
27529275             WM Roofing LLC, c/o Wayne Miller, 301 S Wooster Ave Ste A, Strasburg, OH 44680-1141
27488213             WS Design LLC, 145 Park St, Orwell, OH 44076-9562
27488175             Walnut Creek Glass, 2680 Township Road 421, Sugarcreek, OH 44681-8403




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27488176                   Waste Management of Ohio Inc., PO Box 4648, Carol Stream, IL 60197-4648
27488177                   Waste Pro of Florida, 8470 NW 168th Ln, Fanning Springs, FL 32693-7509
27488178                   Water Works Greater Cincinnati, 4747 Spring Grove Ave, Cincinnati, OH 45232-1921
27488179               #   Wayne B. Miller, 4104 Winthrop St, Sarasota, FL 34232-4966
27488182               #   Weiler Roofing Inc., 719 Cattlemen Rd, Sarasota, FL 34232-2852
27488183                   Wesley Hershberger Jr., 355 DW Dever Rd, Oak Hill, OH 45656
27488184                   West Side Tractor Sales, PO Box 87618, Chicago, IL 60680-0618
27488186               +   West Virginia Attorney General, State Capitol Complex Bldg 1, 1900 Kanawha Blvd E Rm E-26, Charleston, WV 25305-0029
27488187                   West Virginia Bureau of Workers Com, WV Offices of the Insurance Commiss, PO Box 50540, Charleston, WV 25305-0540
27488188                   West Virginia Dept of Job & Family, 350 Capitol St Rm 730, Charleston, WV 25301-1757
27488190                   West Virginia Parkways Authority, PO Box 1469, Charleston, WV 25325-1469
27488191                   West Water Supply, 1007 Lee St, Zanesville, OH 43701-3328
27488192                   Western Reserve Group, PO Box 740754, Cincinnati, OH 45274-0754
27789177                   Westfield Insurance Company, 1 Park Cir, Westfield Ctr, OH 44251
27488193                   Whispering Pines Construction LLC, 18988 Jones Ln, Richland Center, WI 53581-5890
27488194               +   Whitaker Heating & Cooling, 64 Oak Dale Cir, Baxley, GA 31513-9297
27488196                   Wilks Site Prep Inc., 8849 SW 15th Ct, Trenton, FL 32693-5690
27488197                   William D. McCullough, 100 Santa Clara St NW, Canton, OH 44709-1451
27488198               +   Williams Brothers Corp of America, 1330 Progress Dr, Front Royal, VA 22630-6483
27488199                   Williams Scotsman Inc., PO Box 91975, Chicago, IL 60693-1975
27488200                   Willoughby Supply, PO Box 771859, Detroit, MI 48277-1859
27488202                   Winesburg Area Development Corp., PO Box 143, Winesburg, OH 44690-0143
27529255                   Winesburg Builders Ltd., c/o Naomi R. Miller, PO Box 276, Winesburg, OH 44690-0276
27789178                   Winesburg Builders Ltd., c/o Naomi R. Miller, Registered Agent, 1985 Township Road 675, Dundee, OH 44624
27488203                   Winesburg Hardwood Lumber Co., 2871 US Route 62, Dundee, OH 44624-9236
27488204                   Winyah Building Supply, 2136 N Fraser St, Georgetown, SC 29440-6402
27488206                   Wisconsin Dept of Children & Famili, PO Box 8916, Madison, WI 53708-8916
27488208                   Wisconsin Dept of Workforce Develop, PO Box 7946, Madison, WI 53707-7946
27488209                   Wisconsin Power and Light Company, 1521 Progress Ln, Stoughton, WI 53589-5304
27488211               +   Wooster Community Hospital, 1761 Beall Ave, Wooster, OH 44691-2399
27488212               +   Worker's Compensation Board of Indi, 402 W Washington St Rm W-196, Indianapolis, IN 46204-2753
27488214                   Xtreme Drywall Services, 21 S 10th Ave, Arcadia, FL 34266-9498
27488215                   Yandell Construction Services, 409 Walker Rd Ste A, Jackson, TN 38305-7417
27488216                   Yoder Sharpening Ltd., 14280 Durstine Rd, Dundee, OH 44624-9446
27529277                   Yoder Stone Ltd., c/o LeRoy Yoder, 8435 Township Road 656, Fredericksburg, OH 44627-9652
27488217                   Zeigler Flooring & Reno LLC, 4890 Rostalk Rd, Galion, OH 44833-9777
27488218                   Zeigler Nut & Bolt House, PO Box 80369, Canton, OH 44708-0369
27488219                   Zimmerman Plumbing, 303 E Albert St, Portage, WI 53901-1363
27789175                   de Luca Levine LLC, Attn: Matthew Connolly, Esq., 301 E Germantown Pike, Norristown, PA 19401-6517

TOTAL: 578

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
tr                         EDI: QLBAFARIN.COM
                                                                                        Apr 20 2024 00:27:00      Lisa M. Barbacci, Trustee - Canton, Lisa Barbacci
                                                                                                                  - Bankruptcy Trustee, 600 East Smith Road, (Side
                                                                                                                  Entrance), Medina, OH 44256-2666
ust                    + Email/Text: ustpregion09.cl.ecf@usdoj.gov
                                                                                        Apr 19 2024 20:34:00      Andrew R. Vara, Office of the U.S. Trustee, H.M.
                                                                                                                  Metzenbaum U.S. Courthouse, 201 Superior
                                                                                                                  Avenue East Suite 441, Cleveland, OH
                                                                                                                  44114-1234
27487586                   EDI: SYNC
                                                                                        Apr 20 2024 00:27:00      84 Lumber Company LP, PO Box 365, Eighty
                                                                                                                  Four, PA 15330-0365
27487608                   Email/Text: AEPBankruptcy@aep.com
                                                                                        Apr 19 2024 20:34:00      American Electric Power, PO Box 24418, Canton,
                                                                                                                  OH 44701-4418
27487594                   Email/Text: sflack@airliteplastics.com
                                                                                        Apr 19 2024 20:35:00      Airlite Plastics Co., 6110 Abbott Dr, Omaha, NE
                                                                                                                  68110-2834
27487603               + EDI: GMACFS.COM
                                                                                        Apr 20 2024 00:27:00      Ally Financial, PO Box 380901, Bloomington,
                                                                                                                  MN 55438-0901




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27487606           Email/Text: bankruptcynotices@amazon.com
                                                                            Apr 19 2024 20:35:00   Amazon, 440 Terry Ave N, Seattle, WA
                                                                                                   98109-5210
27487607           Email/Text: ebn@hcc.com
                                                                            Apr 19 2024 20:35:00   American Contractors Indemnity Comp, 801 S
                                                                                                   Figueroa St Ste 700, Los Angeles, CA 90017-2523
27487609         + Email/PDF: bncnotices@becket-lee.com
                                                                            Apr 19 2024 20:41:27   American Express, PO Box 1270, Newark, NJ
                                                                                                   07101-1270
27594859           Email/PDF: bncnotices@becket-lee.com
                                                                            Apr 19 2024 20:41:19   American Express National Bank, c/o Becket and
                                                                                                   Lee LLP, PO Box 3001, Malvern PA 19355-0701
27487612           Email/PDF: bncnotices@becket-lee.com
                                                                            Apr 19 2024 20:41:36   Amex, Correspondence/Bankruptcy, PO Box
                                                                                                   981540, El Paso, TX 79998-1540
27487613           Email/PDF: bncnotices@becket-lee.com
                                                                            Apr 19 2024 20:41:19   Amex, PO Box 981537, El Paso, TX 79998-1537
27487647           Email/Text: lisa@bosleyrental.com
                                                                            Apr 19 2024 20:35:00   Bosley Rental and Supply Inc., 1 Bosley Ave,
                                                                                                   Parkersburg, WV 26101-7110
27488181           Email/Text: legal@clarkinc.biz
                                                                            Apr 19 2024 20:34:00   Webstaurant Store, 40 Citation Ln, Lititz, PA
                                                                                                   17543-7604
27487659           Email/Text: caineweiner@ebn.phinsolutions.com
                                                                            Apr 19 2024 20:34:00   Caine & Weiner, 2000 Warrington Way,
                                                                                                   Louisville, KY 40222-6467
27487683           Email/Text: poc@cintas.com
                                                                            Apr 19 2024 20:34:00   Cintas Corp, PO Box 630910, Cincinnati, OH
                                                                                                   45263-0910
27487684           Email/Text: billingtonc@dteenergy.com
                                                                            Apr 19 2024 20:35:00   Citizens Gas & Fuel Company, PO Box 40,
                                                                                                   Adrian, MI 49221-0040
27487691         + Email/Text: incometax@massillonohio.gov
                                                                            Apr 19 2024 20:35:00   City Of Massillon- Income Tax, PO Box 910,
                                                                                                   Massillon, OH 44648-0910
27487688           Email/Text: cynthia.allensworth@cantonohio.gov
                                                                            Apr 19 2024 20:35:00   City of Canton Income Tax Dept, PO Box 9940,
                                                                                                   Canton, OH 44711-0940
27487689           Email/Text: citycollector@cityofcharleston.org
                                                                            Apr 19 2024 20:35:00   City of Charleston, 915 Quarrier St Ste 4,
                                                                                                   Charleston, WV 25301-2622
27487701           EDI: CODEPREV.COM
                                                                            Apr 20 2024 00:27:00   Colorado Dept of Revenue, PO Box 17087,
                                                                                                   Denver, CO 80217-0087
27487703         + EDI: COMCASTCBLCENT
                                                                            Apr 20 2024 00:27:00   Comcast Business, 141 NW 16th St, Pompano
                                                                                                   Beach, FL 33060-5291
27487706           Email/Text: bankruptcy_notices@cmsenergy.com
                                                                            Apr 19 2024 20:35:00   Consumers Energy, PO Box 740309, Cincinnati,
                                                                                                   OH 45274-0309
27487711           Email/Text: Bankruptcynotice@cscglobal.com
                                                                            Apr 19 2024 20:34:00   Corporation Service Company, PO Box 2576,
                                                                                                   Springfield, IL 62708-2576
27487726           Email/Text: litigation.recoverybkmailbox@dllgroup.com
                                                                            Apr 19 2024 20:33:00   De Lage Landen Financial Services I, 1111 Old
                                                                                                   Eagle School Rd, Wayne, PA 19087-1453
27487740         + Email/Text: bankruptcy@ercopco.com
                                                                            Apr 19 2024 20:35:00   DriveERT, PO Box 412362, Boston, MA
                                                                                                   02241-2362
27487768           Email/Text: rthomas@farmersbankgroup.com
                                                                            Apr 19 2024 20:34:00   Farmers National Bank, 20 S Broad St, Canfield,
                                                                                                   OH 44406-1401
27487777           Email/Text: rj@ffcc.com
                                                                            Apr 19 2024 20:34:00   First Federal Credit C, 24700 Chagrin Blvd,
                                                                                                   Cleveland, OH 44122-5647
27487778           Email/Text: rj@ffcc.com
                                                                            Apr 19 2024 20:34:00   First Federal Credit Control, Attn: Bankruptcy,
                                                                                                   24700 Chagrin Blvd Ste 205, Cleveland, OH
                                                                                                   44122-5630
27487771         ^ MEBN
                                                                            Apr 19 2024 20:30:22   FedEx, US Collections Dept, PO Box 371461,
                                                                                                   Pittsburgh, PA 15250-7461
27487783           EDI: FLDEPREV.COM
                                                                            Apr 20 2024 00:27:00   Florida Dept of Revenue, 5050 W Tennessee St,
                                                                                                   Tallahassee, FL 32399-6585




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27487785         + Email/Text: Bankruptcy@fpl.com
                                                                             Apr 19 2024 20:34:00   Florida Power & Light, General Mail Facility,
                                                                                                    Miami, FL 33188-0001
27487802           EDI: GADEPTOFREV.COM
                                                                             Apr 20 2024 00:27:00   Georgia Dept of Revenue, 1800 Century Blvd NE,
                                                                                                    Atlanta, GA 30345-3202
27487846         + Email/Text: bankruptcy@huntington.com
                                                                             Apr 19 2024 20:35:00   Huntington National Bank, 5555 Cleveland Ave,
                                                                                                    Columbus, OH 43231-4106
27570681           Email/Text: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV
                                                             Apr 19 2024 20:35:00                   INDIANA DEPARTMENT OF REVENUE,
                                                                                                    BANKRUPTCY SECTION, 100 N SENATE
                                                                                                    AVE, INDIANAPOLIS, IN 46204
27487857           EDI: IRS.COM
                                                                             Apr 20 2024 00:27:00   IRS Special Procedures, 1240 E 9th St Rm 457,
                                                                                                    Cleveland, OH 44199-0000
27487850           Email/Text: bankruptcy@getipass.com
                                                                             Apr 19 2024 20:34:00   Illinois Tollway, PO Box 5544, Chicago, IL
                                                                                                    60680-5491
27487852           Email/Text: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV
                                                             Apr 19 2024 20:35:00                   Indiana Department of Revenue, PO Box 7206,
                                                                                                    Indianapolis, IN 46207-7206
27487890         ^ MEBN
                                                                             Apr 19 2024 20:31:19   Kentucky Attorney General, 700 Capital Ave Rm
                                                                                                    118, Frankfort, KY 40601-3458
27487892           Email/Text: jenniferl.howard@ky.gov
                                                                             Apr 19 2024 20:34:00   Kentucky Dept of Revenue, 501 High St,
                                                                                                    Frankfort, KY 40601-2103
27487914           Email/Text: legal@wrginsurance.com
                                                                             Apr 19 2024 20:35:00   Lightning Rod Mutual Insurance Co,, Attn: David
                                                                                                    L. Jarrett, Esq., 2865 Benden Dr, Wooster, OH
                                                                                                    44691-2596
27487915           Email/Text: littleseptic@midohio.twcbc.com
                                                                             Apr 19 2024 20:35:00   Little's Septic Service Inc., 239 Clay St,
                                                                                                    Wheelersburg, OH 45694-8407
27487927           Email/Text: BANKRUPTCY@MASSILLONCABLETV.COM
                                                             Apr 19 2024 20:35:00                   MCTV, PO Box 1000, Massillon, OH 44648-1000
27487932         ^ MEBN
                                                             Apr 19 2024 20:29:02                   Michigan Attorney General, PO Box 30212,
                                                                                                    Lansing, MI 48909-7712
27487962           Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                             Apr 19 2024 20:35:00   New York Dept of Taxation & Finance, Attn:
                                                                                                    Bankruptcy Section, PO Box 5300, Albany, NY
                                                                                                    12205-0300
27487966           Email/Text: JDU@WCB.NY.GOV
                                                                             Apr 19 2024 20:34:00   New York Workers Compensation Board, 328
                                                                                                    State St, Schenectady, NY 12305-3201
27487800           Email/Text: bankruptcy@law.ga.gov
                                                                             Apr 19 2024 20:34:00   Georgia Attorney General, 40 Capitol Sq SW,
                                                                                                    Atlanta, GA 30334-9057
27487973           Email/Text: INAGBankruptcy@atg.in.gov
                                                                             Apr 19 2024 20:34:00   Office of the Indiana Attorney Gene, Indiana
                                                                                                    Government Center, 302 W Washington St Rm 5,
                                                                                                    Indianapolis, IN 46204-4701
27487974           Email/Text: OHAGCEBKYEBN@ohioattorneygeneral.gov
                                                                             Apr 19 2024 20:33:00   Office Of The Ohio Attorney General, Collections
                                                                                                    Enforcement Section, 150 E Gay St, Columbus,
                                                                                                    OH 43215-3130
27487976           Email/Text: bwclegalbankruptcy@bwc.ohio.gov
                                                                             Apr 19 2024 20:34:00   Ohio Bureau Of Workers' Compensatio, 30 W
                                                                                                    Spring St, Columbus, OH 43215-0000
27487979           Email/Text: uibankruptcy@jfs.ohio.gov
                                                                             Apr 19 2024 20:35:00   Ohio Dept Of Job & Family Services, PO Box
                                                                                                    182404, Columbus, OH 43218-0000
27487983           Email/Text: bmcconnell@ohiovalleycu.org
                                                                             Apr 19 2024 20:34:00   Ohio Valley Community Credit Union, 52775
                                                                                                    Boston Hill Rd, Clarington, OH 43915-9573
27577409         + Email/Text: Bankruptcy.notices@tax.state.oh.us
                                                                             Apr 19 2024 20:35:00   Ohio Department of Taxation, Bankruptcy
                                                                                                    Division, P.O. Box 530, Columbus, Ohio
                                                                                                    43216-0530
27488005         ^ MEBN
                                                                             Apr 19 2024 20:29:06   Pennsylvania Turnpike Toll by Plate, PO Box
                                                                                                    645631, Pittsburgh, PA 15264-5254
27488013         + Email/Text: bankruptcy@pb.com
                                                                             Apr 19 2024 20:35:00   Pitney Bowes Financial Services LLC, 27




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                                                                                                     Waterview Dr, Shelton, CT 06484-4301
27488044         ^ MEBN
                                                                              Apr 19 2024 20:29:54   River Link, PO Box 70, Perry, NY 14530-0070
27488084           Email/Text: elizabeth@selaundry.com
                                                                              Apr 19 2024 20:33:00   Southeastern Laundry Equipment Sale, 1105
                                                                                                     Shana Ct NE Ste 1, Marietta, GA 30066-2777
27596241           Email/Text: creditlegal@sunstateequip.com
                                                                              Apr 19 2024 20:34:00   Sunstate Equipment Co., LLC, 5552 E
                                                                                                     Washington, Phoenix, AZ 85034
27488079           Email/Text: bankruptcy@scag.gov
                                                                              Apr 19 2024 20:34:00   South Carolina Attorney General, PO Box 11549,
                                                                                                     Columbia, SC 29211-1549
27488080           EDI: SCAROLNADEPREV
                                                                              Apr 20 2024 00:27:00   South Carolina Dept of Revenue, 300 Outlet
                                                                                                     Pointe Blvd Ste A, Columbia, SC 29210-5666
27488080           Email/Text: BankruptcyLegal@dor.sc.gov
                                                                              Apr 19 2024 20:34:00   South Carolina Dept of Revenue, 300 Outlet
                                                                                                     Pointe Blvd Ste A, Columbia, SC 29210-5666
27488092         + Email/Text: Bankruptcy.notices@tax.state.oh.us
                                                                              Apr 19 2024 20:35:00   State Of Ohio Dept Of Taxation, PO Box 530
                                                                                                     Attn: Bankruptcy Divisi, Columbus, OH
                                                                                                     43216-0530
27488101         ^ MEBN
                                                                              Apr 19 2024 20:30:36   Sunbelt Rentals Inc., PO Box 409211, Atlanta, GA
                                                                                                     30384-9211
27488106           EDI: SYNC
                                                                              Apr 20 2024 00:27:00   Syncb/at Home Cc, Attn: Bankruptcy, PO Box
                                                                                                     965060, Orlando, FL 32896-5060
27488107           EDI: SYNC
                                                                              Apr 20 2024 00:27:00   Syncb/at Home DC, C/o, PO Box 965013,
                                                                                                     Orlando, FL 32896-5013
27488108         + EDI: SYNC
                                                                              Apr 20 2024 00:27:00   Syncb/tjx Cos Dc, PO Box 71737, Philadelphia,
                                                                                                     PA 19176-1737
27650421           EDI: AIS.COM
                                                                              Apr 20 2024 00:27:00   Synchrony Bank, by AIS InfoSource LP as agent,
                                                                                                     PO Box 4457, Houston, TX 77210-4457
27488109           EDI: SYNC
                                                                              Apr 20 2024 00:27:00   Synchrony Bank/Tjx, Attn: Bankruptcy Dept, PO
                                                                                                     Box 965060, Orlando, FL 32896-5060
27488111           EDI: WTRRNBANK.COM
                                                                              Apr 20 2024 00:27:00   Target Nb, C/O Financial & Retail Services Mai,
                                                                                                     PO Box 9475, Minneapolis, MN 55440-9475
27488113           EDI: WTRRNBANK.COM
                                                                              Apr 20 2024 00:27:00   Td Bank USA/Targetcred, PO Box 673,
                                                                                                     Minneapolis, MN 55440-0673
27488114           Email/Text: AGBankAGO@ag.tn.gov
                                                                              Apr 19 2024 20:34:00   Tennessee Attorney General, PO Box 20207,
                                                                                                     Nashville, TN 37202-4015
27488115           EDI: TENNREV
                                                                              Apr 20 2024 00:27:00   Tennessee Department of Revenue, Andrew
                                                                                                     Jackson State Office Buildin, 500 Deaderick St,
                                                                                                     Nashville, TN 37242-0001
27488115           Email/Text: tdor.bankruptcy@tn.gov
                                                                              Apr 19 2024 20:33:00   Tennessee Department of Revenue, Andrew
                                                                                                     Jackson State Office Buildin, 500 Deaderick St,
                                                                                                     Nashville, TN 37242-0001
27488121         + Email/Text: ebn@hcc.com
                                                                              Apr 19 2024 20:35:00   Texas Bonding Company, 801 S Figurora St Ste
                                                                                                     700, Los Angeles, CA 90017-2523
27488140         ^ MEBN
                                                                              Apr 19 2024 20:30:35   Tolls by Mail Payment Processing Ce, PO Box
                                                                                                     15183, Albany, NY 12212-5183
27488147         ^ MEBN
                                                                              Apr 19 2024 20:30:22   Transworld Systems Inc., 1105 Schrock Rd Ste
                                                                                                     300, Columbus, OH 43229-1174
27487975           Email/Text: USAOHN.BankruptcyCle@usdoj.gov
                                                                              Apr 19 2024 20:34:00   Office of the United States Attorne, Attn:
                                                                                                     Bankruptcy Division, 801 W Superior Ave Ste
                                                                                                     400, Cleveland, OH 44113-1852
27488161         ^ MEBN
                                                                              Apr 19 2024 20:30:22   US Attorney General, 950 Pennsylvania Ave NW,
                                                                                                     C/O US Dept Of Justice, Washington, DC
                                                                                                     20530-0009
27488163           Email/Text: nadavis@hcc.com




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                                                                                   Apr 19 2024 20:35:27     US Speciality Insurance Company, 13403
                                                                                                            Northwest Fwy, Houston, TX 77040-6006
27488170                 EDI: VERIZONCOMB.COM
                                                                                   Apr 20 2024 00:27:00     Verizon, PO Box 25505, Lehigh Valley, PA
                                                                                                            18002-5505
27488205                 Email/Text: dojbankruptcynoticegroup@doj.state.wi.us
                                                                                   Apr 19 2024 20:33:00     Wisconsin Attorney General, c/o Wisconsin
                                                                                                            Department of Justice, PO Box 7857, Madison, WI
                                                                                                            53707-7857
27488185                 Email/Text: mcrawford@westtownbank.com
                                                                                   Apr 19 2024 20:35:00     West Town Bank and Trust, 7820 W 26th St,
                                                                                                            North Riverside, IL 60546-1599
27488189                 EDI: WVTAX
                                                                                   Apr 20 2024 00:27:00     West Virginia Dept of Taxation, The Revenue
                                                                                                            Center, 1001 Lee St E, Charleston, WV
                                                                                                            25301-1725
27488189                 Email/Text: TaxBankruptcy@wv.gov
                                                                                   Apr 19 2024 20:34:00     West Virginia Dept of Taxation, The Revenue
                                                                                                            Center, 1001 Lee St E, Charleston, WV
                                                                                                            25301-1725
27488207                 EDI: WISCDEPREV.COM
                                                                                   Apr 20 2024 00:27:00     Wisconsin Dept of Revenue, PO Box 8949,
                                                                                                            Madison, WI 53708-8949

TOTAL: 85


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr                            Great American Insurance Group
cl                            Lenawee Hospitality LLC
cr                            U.S. Specialty Insurance Co
27653399                      Great American Insurance Company
aty             *             Lisa M. Barbacci, Trustee - Canton, Lisa Barbacci - Bankruptcy Trustee, 600 East Smith Road, (Side Entrance), Medina, OH
                              44256-2666
27594861        *             American Express National Bank, c/o Becket and Lee LLP, PO Box 3001, Malvern PA 19355-0701
27634047        *+            Becker Electric Inc, 288 E. Mills St., Columbus, NC 28722-8745
27633175        *+            HOLMES OIL DISTRIBUTING, INC., P.O. BOX 148, MILLERSBURG, OH 44654-0148
27487856        *+            Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346
27529256        *             Rueben J. Schlabach, 3038 US Route 62, Dundee, OH 44624-9238
27529259        *             Walnut Creek Glass, 2680 Township Road 421, Sugarcreek, OH 44681-8403
27487587        ##            Absolute Concrete LLC, 3692 Main St, Green Bay, WI 54311-9603
27487633        ##            Badgerland Disposal, 265 N Janesville St, Milton, WI 53563-1306
27487654        ##            Bruce Brotherton, 229 Center St, Huron, OH 44839-1604
27487667        ##            Carefirst Urgent Care, 9549 Montgomery Rd, Cincinnati, OH 45242-7238
27487669        ##+           Carolina Chutes and Equipment, 69 Roberts Smalls Pkwy Ste 1-B, Beaufort, SC 29906-4268
27487708        ##            Contribution Health LLC, PO Box 124, Villanova, PA 19085-0124
27487713        ##            Craig Segrist, 2804 Township Road 412, Dundee, OH 44624-9211
27529269        ##            Davis & Young, Attn: Dennis R. Fogarty, Esq., 29010 Chardon Rd, Willoughby Hills, OH 44092-1473
27487730        ##            Designer Tile and Stone LLC, 100 Newfield Ave Ste D, Edison, NJ 08837-3849
27487742        ##            Drywall Enterprise LLC, 3125 Dandy Trl Ste 208, Indianapolis, IN 46214-1460
27487748        ##            Eco-Seal Home Solutions, 4535 Township Road 367, Millersburg, OH 44654-8885
27487809        ##            GLS Inc., 3512 S Harding St, Indianapolis, IN 46217-3345
27487828        ##            HH2 Cloud Services, 938 University Park Blvd Ste 200, Clearfield, UT 84015-6285
27487839        ##+           Holmes Rental Station Inc, 2465 State Route 39, Sugarcreek, OH 44681-9633
27487841        ##            Hooper Corporation, 2030 Pennsylvania Ave, Madison, WI 53704-4746
27487855        ##            Integrity Excavating II LL, PO Box 652, Bellville, OH 44813-0652
27487878        ##            Joshua Zeigler, 4890 Rostalk Rd, Galion, OH 44833-9777
27487908        ##            LDR Local Dumpster, 6100 Lake Forrest Dr Ste 505, Atlanta, GA 30328-3836
27487958        ##            NC Quick Pass, PO Box 71116, Charlotte, NC 28272-1116
27487971        ##+           Nova Title Agency Inc., 30455 Solon Rd, Solon, OH 44139-3415
27487997        ##            Patrick McCaffrey, 251 Daniel Burnham Sq Apt 303, Columbus, OH 43215-2683
27488009        ##+           PharmAvail Benefit Management, 3380 Trickum Rd # 100, Woodstock, GA 30188-3684
27488011        ##            PipelineSuite, 3723 Birch St Ste 24, Newport Beach, CA 92660-2614
27488014        ##            PlanGrid Inc., 2111 Mission St Ste 400, San Francisco, CA 94110-6349




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District/off: 0647-6                                                  User: admin                                                           Page 15 of 15
Date Rcvd: Apr 19, 2024                                               Form ID: 318                                                        Total Noticed: 660
27488051           ##                RWA Global LLC, 3169 State Route 39, Millersburg, OH 44654-8805
27488041           ##                Reliable Leak Detection LLC, 5840 Sutters Mill Dr, Cincinnati, OH 45247-5992
27488050           ##                Russell Tindall, 4548 Troendly Rd SW, Baltic, OH 43804-9043
27488083           ##                South Florida Fire Protection, 6222 Tower Ln Unit A12, Sarasota, FL 34240-7847
27488100           ##                Summit Benefit Solutions Inc., 630 Lexington Ave, Mansfield, OH 44907-1500
27488110           ##                T & E Hydro Seeding & Excavating, 5040 Township Road 405, Millersburg, OH 44654-8891
27488201           ##                Wilmer Troyer, 4610 Ardale St, Sarasota, FL 34232-4020
27488210           ##                Wolff Bros Supply, PO Box 508, Medina, OH 44258-0508

TOTAL: 4 Undeliverable, 7 Duplicate, 32 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 21, 2024                                            Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 19, 2024 at the address(es) listed below:
Name                                 Email Address
Anthony J. DeGirolamo
                                     on behalf of Debtor Mary M. Schlabach tony@ajdlaw7-11.com amber@ajdlaw7-11.com;G23630@notify.cincompass.com

Anthony J. DeGirolamo
                                     on behalf of Debtor Robert J. Schlabach tony@ajdlaw7-11.com amber@ajdlaw7-11.com;G23630@notify.cincompass.com

Jerry M. Bryan
                                     on behalf of Creditor The Farmers National Bank of Canfield jbryan@hendersoncovington.com

Lisa M. Barbacci, Trustee - Canton
                                     barbaccitrustee@gmail.com lbarbacci@ecf.axosfs.com

Lisa M. Barbacci, Trustee - Canton
                                     on behalf of Trustee Lisa M. Barbacci Trustee - Canton barbaccitrustee@gmail.com, lbarbacci@ecf.axosfs.com

Marvin A. Robon
                                     on behalf of Plaintiff Lenawee Hospitality LLC bar-rob@accesstoledo.com mar.br@bex.net

Marvin A. Robon
                                     on behalf of Claimant Lenawee Hospitality LLC bar-rob@accesstoledo.com mar.br@bex.net

Melissa A. Jones
                                     on behalf of Creditor U.S. Specialty Insurance Co mjones@frantzward.com docket@frantzward.com

Melissa A. Jones
                                     on behalf of Creditor Great American Insurance Group mjones@frantzward.com docket@frantzward.com

Scott R. Belhorn ust35
                                     on behalf of U.S. Trustee Andrew R. Vara Scott.R.Belhorn@usdoj.gov


TOTAL: 10




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Information to identify the case:
Debtor 1
                       Robert J. Schlabach                                         Social Security number or ITIN   xxx−xx−5395
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2               Mary M. Schlabach                                           Social Security number or ITIN   xxx−xx−7781
(Spouse, if filing)
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

United States Bankruptcy Court       Northern District of Ohio

Case number:          23−60423−maw

Order of Discharge                                                                                                                 12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Robert J. Schlabach                                          Mary M. Schlabach
                                                                          aka Mary M. Miller, aka Mary N. Miller


             4/19/24                                                       By the court: MARY ANN WHIPPLE
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                       For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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